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STEPHEN PAUL PREZIOSI
6201 INDUSTRIAL LOOP 840

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SHREVEPORT, LA 71129 RECEIVED

stephenpreziosi0@gqmail.com

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Plaintiff in Pro Per We MOORE, CL
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION

STEPHEN PAUL PREZIOSI CIVIL ACTION NO.5:23-cv-01097

Plaintiff
VERSUS MEMORANDUM IN OPPOSITION
to MOTION to DISMISS
LA DEPT CHILDREN & FAMILY PURSUANT FRCP 12(b)1, 12(b)6
SERVICES ET AL ELEVENTH AMENDMENT

Defendant’s IMMUNITY, SOVEREIGN
IMMUNITY, SUBJECT MATTER

JURISDICTION

JUDGE: JERRY EDWARDS, Jr.
MAGISTRATE JUDGE HORNSBY

MEMORANDUM OF OPPOSITION

: TO MISS BASED O
ELEVENTH AMENDMENT IMMUNITY
FAILURE TO STATE A CLAIM

SOVEREIGN IMMUNITY
s ECT MATTER JURISDICTION

COMES NOW the Plaintiff, STEPHEN PAUL PREZIOSI, by and through
undersigned counsel, hereby submits this Opposition to Defendant's
Motion to Dismiss, and in support thereof states as follows:
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1.INTRODUCTION

1. This case involves grave multiple infringements upon the
Plaintiffs constitutional, statutory, and common law rights including,
but not limited to, breach of contract, violation of civil rights,
constitutional rights infringement, fraud, mail fraud, fraudulent
concealment, tortious conduct, due process violation, equal
protection clause violation, willful withholding of information, unjust
enforcement actions, manipulation, neglect of duty, refusal to adhere
to legal requirements, Freedom of Information Act (FOIA) violations,
due process, conspiracy against rights, alteration of divorce decree,
under color of law, misconduct, fraudulent misrepresentation,
violation of parental rights, intentional infliction of emotional distress,
tortious interference with a parental relationship, negligence, and

failure to adhere to legal procedures.

2. In response to the egregious and multifaceted harm suffered
by the Plaintiff, the Defendant's seek to evade judicial scrutiny and
consequent accountability through claims of immunity under the
Eleventh Amendment, asserting failure to state a claim upon which
relief can be granted, sovereign immunity, and lack of subject matter

jurisdiction.

3. Sovereign immunity, as contemplated by the Eleventh
Amendment, does not bar this honored Court's jurisdiction over the
case at bar, for the Defendant's are not entitled to the protections
asserted therein due to the explicit legislative provisions stipulated

under 42 U.S.C. § 1983, and the clear abrogation of such immunity in
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the context of claims under federal law where state officials are

alleged to have violated federal statutory or constitutional rights.
45 CFR 302.12 Single and separate organizational unit, LA. R.S.

51: 1444 Contracts between obligees and private child support

collection agencies; contents; provisions A.(9) A statement that the

private child support collection agency is not a government agency
and is not affiliated with any government agency and that the

department provides support enforcement services at little or no cost

to the obligee. Title IV D Agencies do not have immunity, Franconia

Associates v. United States, 536 U.S. 129 (2002)

4. Further, the Plaintiff has properly stated claims which are
substantive and viable, thus, this matter survives the standard
established by Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007),
and Ashcroft v. Iqbal, 556 U.S. 662 (2009), which mandate that a
complaint must contain sufficient factual matter, accepted as true, to

state a claim to relief that is plausible on its face.

5. The Defendant's assertion of sovereign immunity is not
plenary, as it does not afford protection from all judicial review,
specifically in instances involving allegations of constitutional
violations pursuant to Ex parte Young, [209 U.S. 123 (1908)], which
allows suits against state officials for prospective injunctive relief for
ongoing violations of federal law. Federal courts can rule on federal
claims [constitutional questions] involved in state divorce cases and
award money damages for federal torts or in diversity of citizenship

cases involving intentional infliction of emotional distress by denial of
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parental rights, “visitation”, as long as it is not asked to modify

custody status, LLOYD V. LOEFFLER, 518 F. Supp 720
LEGAL ARGUMENT

|. THE ELEVENTH AMENDMENT DOES NOT BAR FEDERAL
COURTS FROM ADJUDICATING CLAIMS AGAINST STATE
OFFICIALS FOR VIOLATIONS OF FEDERAL LAW

A. Federal Law Provides an Exception to Eleventh Amendment

Immunity for Suits Against State Officials.

6. The crux of the Defendant's motion rests upon a flawed
interpretation that the Eleventh Amendment confers upon them
blanket immunity from all forms of legal recourse sought by the
Plaintiff. However, this is a misapprehension of the scope of the
Eleventh Amendment and the well-established jurisprudence
permitting suits against state officials for prospective relief to cease
an ongoing violation of federal law.

7. Pursuant to the legal doctrine established in Ex parte Young,
this Court has the authority to enjoin state officials from committing
future violations of federal law despite the nominal barrier posed by
the Eleventh Amendment. This exception persists as a fundamental
principle to ensure the supremacy of federal law and safeguard
constitutional rights against state infringement.

B. Plaintiff's Claims Under 42 U.S.C. § 1983 Are Not Barred by

the Eleventh Amendment.

8. Section 1983 provides a federal forum to remedy many
wrongs that are actionable against persons who, under “color of state

law,” cause deprivation of federal rights, privileges, or immunities.
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The present action precisely alleges conduct under the color of state

law, which has led to the deprivation of Plaintiffs rights.

9. The nature of allegations in the present case — such as the
willful withholding of information, unjust enforcement actions, and
alteration of divorce decree under color of law — undeniably
characterize actions taken under the guise of state authority,

satisfying the "color of law" requirement described in § 1983.

ll. THE COMPLAINT STATES CLAIMS UPON WHICH RELIEF

CAN BE GRANTED

A. Plaintiff's Complaint Satisfies the Twombly-Iqbal Standard.

10. The Complaint alleges a panoply of factually intricate and
legally significant wrongdoings, each buttressed by a sufficiently
detailed narrative to apprise the Defendant of the nature of the claim

and the grounds upon which it rests.

11. The factual allegations contained within the Complaint,
taken as true for the purpose of this motion, surpass mere
speculative or conceivable threshold and climb to the level of
plausibility, thus coming squarely within the ambit of claims that are
entitled to an opportunity for proof under the prevailing Twombly-Iqbal
standard.

lll. SOVEREIGN IMMUNITY DOES NOT PROTECT THE
DEFENDANT FROM CLAIMS OF FEDERAL CONSTITUTIONAL

AND STATUTORY VIOLATIONS

A. Sovereign Immunity Does Not Extend to Claims for

Violations of Federal Law.
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12. While the State enjoys immunity from suits by private
parties seeking to impose a liability which must be paid from public
funds in the state treasury, this form of immunity does not extend

carte blanche to all actions against the state or state officials.

13. When the state official is named and the relief sought
implicates future conduct in violation of federal rights, the doctrine of
sovereign immunity finds itself inapplicable. In the present case, the
relief sought pertains to prospective measures aimed at halting
ongoing violations of Plaintiff's federal rights, and as such, does not
run afoul of sovereign immunity principles.

IV. THE COURT HAS SUBJECT MATTER JURISDICTION TO
ADJUDICATE THE CLAIMS PRESENTED

A. Federal Questions Are Present and Warrant Federal Court
Jurisdiction.

14. This action raises several federal questions that are
properly within the domain of federal jurisdiction, including but not
limited to the alleged violations of constitutional rights, as well as
statutory rights under the FOIA and 42 U.S.C. § 1983.

15. The Constitution and laws of the United States are central
to the determination of this case, thus vesting this Court with
jurisdiction pursuant to 28 U.S.C. § 1331.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this
Honorable Court deny Defendant's Motion to Dismiss in its entirety
and grant Plaintiff the opportunity to prove the merits of the claims

presented.
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Respectfully submitted,
STEPHEN PREZIOSI

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stephenpreziosi0@qmail.com
318-918-0928 ~

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Respectfully submitted,
STEPHEN PREZIOSI

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SHREVEPORT,LA 71129
stephenpreziosi0@qmail.com
318-918-0928

Pro Se Plaintiff

CERTIFICATE OF SERVICE

| hereby certify that on this 24 day of January 2024, | filed the

foregoing with the Clerk of Court. | also certify that i have mailed

United States Postal Service Certified Return Receipt and email as the

Plaintiff is a non-CM/ECF participant:

Elizabeth Grozinger

Asst. Atty. Gen.

Louisiana Dept. of Justice
Litigation Division

330 Marshall St. Ste. 777
Shreveport, La 71101
grozingere@ag.louisiana.gov

A courtesy copy of this filing will be forwarded to the Honorable Jerry

Edwards Jr. United States District Judge.

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i, Day

Pro se Plaintiff
